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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                                               Norfolk Division


ePLUS INC.,


                                  Plaintiff,                                        ) Civil Action No. 2:09cv232- HCM- TEM




PERFECT COMMERCE, INC., SCIQUEST
INC., LAWSON SOFTWARE, INC., and
VERIAN TECHNOLOGIES, INC.,



                                 Defendants.


                      DECLARATION OF KENNETH G. FARBER IN SUPPORT OF
                                        ePLUS' OPPOSITION TO DEFENDANTS'
                                                   MOTION TO STAY PROCEEDINGS

               , Kenneth G. Farber, declare and state as follows:

               INTRODUCTION

                        My name is Kenneth G. Farber. I am President of                       ePlus   Systems , Inc.   ePlus

Systems ), a subsidiar of                  ePlus     inc.     ePlus       the plaintiff in this lawsuit. I am over 18 years of

age and I could competently testify as to the facts contained herein if called upon to testify.

                        ePlus    Systems is located at 13595 Dulles Technology Drive , Herndon , Virginia

20171. ePlus          Systems is a vendor of software products and services for performing electronic

sourcing and procurement of goods and services.                             ePlus    Systems sells products that have features

and functionality to permit users to electronically purchase goods and services from multiple

vendors and suppliers over an internal network and external networks such as the Internet.




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Broadly speaking, this is commonly referred to today as business- to- business (" B2B"

ecommerce.

                       As par of our business model ePlus                Systems offers products known as Procure

and Content.

                       Procure + is a software program that enables users to take advantage of a fully

automated procurement process by searching for items in electronic catalogs , generating

requisitions , and producing purchase orders over a computer network. The software allows users

to make online purchases through an integrated , paperless procurement process.

                        Content is software that enables users to create robust electronic catalogs by

converting supplier product data into a manageable, organized and searchable catalog. Potential

buyers can then search the electronic catalogs , view details about the products in the catalogs

cross-reference and compare similar products, and generate requisitions through Procure + to

purchase selected items.

                        ePlus     has been in the business of offering software products and services for

electronic sourcing and procurement since May of 2001.                        ePlus   began operations in this area by

acquiring the technology business assets of a company called ProcureNet. In 2001 , I was

employed by ProcureNet as its Senior Vice President for Marketing and Business Development.

After    ePlus     acquired ProcureNet's technology assets in 2001 -- including its software , its source

code , its patents and other related intellectual property -- I joined                 ePlus   and subsequently became

the President of          ePlus     Systems. Since that date , the original ProcureNet products have gone

through ongoing development enhancements.

                        ePlus     has grown this business since 2001 , but stil remains a fairly small player

the market.




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                          The market for electronic sourcing and procurement is fiercely competitive.

There are several software vendors that provide solutions such as those offered by                                ePlus

Systems. These include , for example , Ariba , SAP , Oracle and the Defendants in this action--

Perfect Commerce , Lawson Software, SciQuest and Verian Technologies.

                          Perfect Commerce s On- Demand SRM applications , including its Perfect Procure

Catalog Manager , Search Manager and Open Supplier Network applications are its counterpars

to   ePlus      Procure + and Content applications. SciQuest's Requisition Manager , Order Manager

Catalog Manager and Supplier Network solutions are its counterpars to                                   ePlus electronic

procurement applications. Lawson Software s Lawson Procurement , Lawson Requisitions

Lawson Inventory Control , Lawson Purchase Order and Lawson Procurement Punchout

solutions are its counterpars to                       ePlus s Procure + and Content applications.

            10.           In   the marketplace ePlus                    and Perfect Commerce , Lawson Software and SciQuest

are direct competitors.                 In   many instances that             ePlus   has responded to a Request for Proposal

     RFP" ) from a potential customer , one or more of the Defendants has also offered its products

for sale to the prospective customer.                         In   some instances ePlus       has been able to secure the sale in

direct competition with the Defendant.                             In    other instances , the Defendant has prevailed. For

example ePlus               competed against Perfect Commerce with respect to Purdue Farms. We believe

that Perfect Commerce received the contract award. Recently, we believe that Lawson Software

was successful in inducing the Gannett Corporation to switch from                                  ePlus   software products to

those of Lawson Software.                      ePlus     recently lost three of its customers to SciQuest , the University

of Texas , Baylor University and Emory University. Each of these customers was using                                      ePlus

solutions and switched to SciQuest' s products.




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            11.    It is my understanding that the patents owned by           ePlus   cover basic functionality

for electronic sourcing and procurement. They permit a user to: (i) select among multiple

suppler or vendor catalogs of goods and services for sale; (ii) search for desired items in the

selected catalogs; (iii) build a requisition for the items that he or she desires to purchase; (iv)

process the requisition to generate one or more purchase orders for the item(s) selected for

purchase; and (v) determine whether the selected item(s) is available in inventory at the

supplier s warehouse.          In   addition , I understand that the patents also describe and claim how

users can determine if there are similar items for sale from other vendors by providing cross

referencing fuctionality.


            12.    From my experience in the industry, and from my experience in direct

competition with each of the defendants , I understand that           ePlus    and each of the Defendants sell

software solutions and services that provide this functionality. Indeed , in responding to RFPs

ePlus    and the Defendants are required to represent to prospective customers that the software

systems they are selling can achieve these operational requirements.

            13.    ePlus    has spent milions of dollars enforcing its patents in two prior lawsuits. The

first of these cases was brought in the Alexandria Division of this Cour against Ariba, a

competitor of     ePlus    and one of the largest electronic procurement software companies in the

United States. The trial in that matter was conducted in Januar, 2005 before Judge Leonie

Brinkema. The jury determined that Ariba wilfully infringed all of the asserted claims of the

same three patents as those at issue here , and that all of the asserted claims were valid. A copy

of the jury s verdict form is attached as Exhibit A. After the jury verdict was retured, but

before we proceeded to the damages phase of the trial , the parties negotiated a settlement and




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license agreement pursuant to which Ariba paid $37 milion and took a license to the patents-

suit.

             14.        The second case was against SAP AG and its U. S. subsidiar, SAP America, Inc.

another of         ePlus       largest competitors in the market for electronic sourcing and procurement

systems. That case was tried before Judge Spencer in the Richmond Division of this Court.

After a three-week trial , the jurors were unable to reach a verdict and Judge Spencer declared a

mistrial. The parties then agreed to submit the case to Judge Spencer for a bench ruling. While


the matter was under consideration by Judge Spencer , the parties conducted settlement

negotiations and entered into a settlement agreement pursuant to which SAP took a license to the

patents- in-suit.

             15.        Additionally, as this Cour is aware ePlus                 and Defendant Verian Technologies

have settled their dispute in this action and have entered into a Stipulation of Dismissal.

             16.        As noted above ePlus                is a relatively small company as it pertains to the

eProcurement market. In order to effectively compete in this marketplace ePlus                             must enforce its

patent rights to exclude infringers. Only in this way can                        ePlus   level the playing field and achieve

the market share it should be entitled to because it owns the pioneering patents in this area.

Indeed ePlus          has obtained in excess of $54 millon in royalties associated with the three patents-

in-suit.

             17.       ePlus     has been actively prosecuting reexamination of the ' 683 Patent for over

three years now and , I understand , the process may have many more stages before it wil be

completed. Because of the extended length of time that I understand reexamination proceedings

take to complete , it would be unduly prejudicial to                     ePlus   and its licensees to have this case stayed

indefinitely while reexaminations are pending. The Defendants would be permitted to engage in




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unauthorized competition with           ePlus   and its licensees during the period of the stay. The

prejudice is all the more serious considering that in the normal course , as I understand it, both the

inter partes       reexamination of the ' 172 Patent , if granted , and the   ex parte   reexamination of the

, 683 Patent wil extend until late in the life of each patent and possibly thereafter. The stay would

effectively negate ePlus s right to an injunction to exclude our competitors from infringement , and would

be unfair to our licensees who have paid for the right to use ePlus s patent inventions.




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                                                        "."



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        I declare under penalty of perjur tht the foregoing is tre and correct to the best of my

knowledge and belief.

        Executed ths   at day of July, 2009 in Washigton, D.




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                EXHIBIT A
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                                 IN THE UNITED STATES DISTRCT COURT                              FILEU IN OPEN COURT
                                 FOR THE EASTERN DISTRCT OF VIRGINIA
                                            Alexaadrfa DivisioD


       ePLUS , INC.
                                                                                               f fB-T_
                                                                                             CLERK. U. S. DISTRICT COURT
                                                                                                  ALEXANDRIA . VA

                Plaintiff


                                                                        I :04cv612 (LMBIBRP)
   ARA, INC.
                Defendant.




                                        SPECIAL VERDICT FORM
                     , the jur, unanmously find as follows:



               INFGEMENT
               As to each question in Secii ns      aDdU, a "Yes" answer is a finding for ePlus, Inc., and a
         " answer is a finding for Arba, Inc.

                        Direct Infringement
               Do jori find that ePlus, Inc. has shown by a preponderance of the eVidence that
                                                                                                 Arba,
Inc.    has    directly in&inged any of the foHowing asserted claims?
Pat            683

Claim 1 (independent)                         YES
Claini 14" (independent)                      YES



Claim 31 (independent)                        YES
       ent '

Claim 16 (independent)                        YES



Claim 17 (dependent)                         YES
Claim 21 (independent)                       YES
. .                   .: .                     .' .
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        Patent ' 172

        Claim I (independent)                          YES
        Claim 5 (dependent)                            YES

                               Indiret Infringement

               Do you find that ePlus , Inc. has shown by a prenderce of the evidence that Arba,
               Inc. has induced other to inmnge any of the following assered claims?

       Patent ' 683

       Claim 1 (independent)                           YES

       Clai 14 (independent)                           YES

       Claim 31 (independent)                         . YES
       Pat t ' 516

       Clai 16 (independent)                           YES

       Clai 17 (dependent)                             YES

       Clai 21 (independent)                           YES

       Patent ' 172

       Claim I (independent)                          YES

       C:lai 5 (dependent)
                                                      YES
                             ' t




      II.     WILLFULNESS
                             If you have found that Arba, Inc. has inmnged or that it has induced infingement

                             of at least one claim of the " 683 patent , do you find by clea and convincing

                             evidence that Arba, Inc. wilfully inftged or induced infngement of the ' 683
                             patent?

                                                      YES

                         If you have found that Arba, Inc. has infiged or that it has induced ingement

                         of at least one claim of the ' 516 patent, do you find by clear and convincing
                 . .



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                   evidence that Arba, Inc. wilfully infnged or induced inmngement of the ' 516
                   patent?
                                            YES

                   If you have found that Arba, Inc. has inftnged or that it has induced inftngement

                   of at least one claim of the ' 172 patent, do you find by clea and convincing

                   evidence tht Arba, Inc. wilfully inmnged or induced inmngement of the ' 172

                  patent?

                                            YES


III.      VALIDITY
          As to each question, a uYes" answer is a finding for Arba, Inc., and a u        " answer is a
fiding for ePlus, Inc.
                  Anticipation
          Do you find that Arba, Inc. h         shoWn by clear and convincing evidence that any of the

followig clais is      invalid due    o ar icip ti9.P'? .
Patent' S 16
          If you anwer u        " with respect to independent claim 16, then you must also      aner
       " with r.espect to dependent claim 17.


Cla 16       (inepent)                     YES                                           llvi
                                                                                                \! /V        ",1
Claim 17(dependeot)                        YE                      NO                                   ' 1/""
                                                                                    cA    ((A   rY \ "
Patent' J 72

Claim J (independent)                      YES                     NO
                                                                                     (J III /m
                                                                                                 V(I tiC
                  IDvalidity of Claims Due to Obviousness
                  Do you find that Arba, Inc. has shown by clear and convincing evidence that any

of the following claims is invalid due to obviousness?
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  Pate t '

  Claim I (independent)        YES
 Claim 14 (independent)        YES
 Claim 31 (independent)        YES
 Paten        J6

 Claim      21 (independent)   YES
         ent 172

 Claim 5 (dependent)           YES




 Dated:



                                        /5n-t.r-r      .;a
                                              PRITED NAME
